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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________

 ANDREW R. PERRONG
 1657 THE FAIRWAY #131
 JENKINTOWN, PA 19046

                Plaintiff,
                                                       Case No.
 vs.

 MORTGAGE BANK OF CALIFORNIA                            JURY TRIAL DEMANDED
 D/B/A MBANC
 1141 HIGHLAND AVE. SUITE C
 MANHATTAN BEACH, CA 90266

                Defendant.




                                          COMPLAINT

                                     Preliminary Statement

       1.      Telemarketing calls are intrusive. A great many people object to these calls,

which interfere with their lives, tie up their phone lines, and cause confusion and disruption on

phone records. Faced with growing public criticism of abusive telephone marketing practices,

Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105

Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response

to Americans ‘outraged over the proliferation of intrusive, nuisance calls to their homes from

telemarketers’ id. § 2(6), and sought to strike a balance between ‘[i]ndividuals’ privacy rights,

public safety interests, and commercial freedoms’ id. § 2(9).

       2.      “The law opted for a consumer-driven process that would allow objecting

individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

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government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry

stands out as a model of clarity. It means what it says. If a person wishes to no longer receive

telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an

abusive telemarketing act or practice and a violation of this Rule for a telemarketer to . . .

initiat[e] any outbound telephone call to a person when . . . [t]hat person’s telephone number is

on the “do-not-call” registry, maintained by the Commission.’)…Private suits can seek either

monetary or injunctive relief. Id…This private cause of action is a straightforward provision

designed to achieve a straightforward result. Congress enacted the law to protect against

invasions of privacy that were harming people. The law empowers each person to protect his

own personal rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA

affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon

their domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

        3.      Mortgage Bank of California (“MBANC”) made telemarketing calls and sent

telemarketing text messages to Mr. Perrong’s residential number listed on the National Do Not

Call Registry, which is prohibited by the TCPA.

        4.      MBANC did so despite the fact that Mr. Perrong had requested not to be

contacted, which is prohibited by the TCPA.

        5.      The Plaintiff never consented to receive the calls and text messages complained of

herein, which were placed to him for telemarketing purposes.

                                               Parties

        6.      Plaintiff Andrew Perrong is a Pennsylvania resident, and a resident of this

District.



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        7.      Defendant Mortgage Bank of California is a California corporation with its

principal place of business in Manhattan Beach, CA. The Defendant accepts process through its

headquarters and main office at 1141 Highland Ave., Suite C, Manhattan Beach, CA 90266.

Defendant is registered and licensed to do business in this District, including by lending

mortgages to borrowers in this District and does business in this District, as it attempted to do

with the Plaintiff.

                                           Jurisdiction & Venue

        8.      The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

Plaintiff’s claims arise under federal law.

        9.      This Court has jurisdiction over the Defendant. MBANC regularly engages in

business in this District, including making telemarketing calls into this District and soliciting

business from this District for its mortgage programs. Furthermore, MBANC provides

Pennsylvania residents with mortgage banking services in this District.

        10.     Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claim occurred in this District, as the telemarketing calls to

the Plaintiff occurred in this District.


                            The Telephone Consumer Protection Act

        11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).




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The National Do Not Call Registry

       12.     The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

       13.     A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.

       14.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers on the Registry and provides a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are promoted.

47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

       15.     The TCPA and its implementing regulations also prohibit the initiation of

telephone solicitations to residential telephone subscribers who have previously inquired about a

seller’s product or service but then requested not to be contacted. 47 U.S.C. § 227(c)(5); 47

C.F.R. § 64.1200(f)(5)(i); 47 C.F.R. § 64.1200(d)(3).

                                       Factual Allegations

       16.     MBANC is a mortgage lender that loans money to residential borrowers in

multiple states, including Pennsylvania.

       17.     To generate business, MBANC relies on telemarketing.

       18.     Those calls violate the TCPA when they are made to residential consumers on the

National Do Not Call Registry who have revoked their consent to be contacted, or when the

caller lacked any such consent to begin with.




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The Calls to Mr. Perrong


       19.     Plaintiff Perrong is a “person” as defined by 47 U.S.C. § 153(39).

       20.     Plaintiff’s residential telephone number is (215) 208-XXXX.

       21.     Mr. Perrong listed that number on the National Do Not Call Registry on

December 18, 2014 and has not removed it from the Registry since that time.

       22.     Mr. Perrong uses the number for personal, residential, and household reasons.

       23.     The number is not associated with any business.

       24.     On January 14, 2021, the Plaintiff inquired about getting a residential mortgage

from Defendant.

       25.     Almost immediately, Plaintiff began to receive telemarketing calls and text

messages from Defendant in order to induce him to get a mortgage from Defendant. At this time,

Plaintiff does not contend that such contacts violated any law or statute.

       26.     Plaintiff grew increasingly frustrated with the frequency and volume of the calls,

which disrupted him. During a telephone call on or about January 15, 2021, Plaintiff stated that

he was busy that week and would call Defendant back the next week.

       27.     Plaintiff then received a telemarketing text message on January 16, 2021 from the

caller ID 424-306-1960. The message stated, “Good afternoon. We received your

internet inquiry and would like to assist you with your property

purchase. Let’s go over the details. 323-835-4800 Mary Mandigma

Mbanc.”

       28.     The Plaintiff then replied to the 424-306-1960 number at 4:10 PM on January 16:

“Apparently you don't understand the meaning of I will




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call you next week. So in that case don't call me ever again

take me off your list and I'll go to some other lender.”

       29.     From this point forward, any calls or text messages Plaintiff received broke the

law because Plaintiff revoked his consent to be contacted by the Defendant.

       30.     Despite this clear revocation of consent to be contacted, Plaintiff continued to

receive calls and text messages from the Defendant.

       31.     Specifically, Plaintiff received a message on January 20, 2021 from the caller ID

424-306-1960 The message stated, “Good afternoon. We received your

internet inquiry and would like to assist you with your property

purchase. Let’s go over the details. 323-835-4800 Mary Mandigma

Mbanc.”

       32.     Plaintiff received more messages. On February 12, 2021, Plaintiff received a

message from the caller ID 424-317-9685. The message stated, “Hi Andrew, Do you

need my help with your Purchase Home Loan based on bank

statements? I am free to discuss now! -Jerry with Mbanc.”

       33.     The Plaintiff then politely replied to the 424-317-9685 number at 6:11 PM

confirming he did not want to be contacted: “Sorry deal fell through. Will

reach out if I find another property.”

       34.     Throughout the subsequent months, Plaintiff received multiple additional calls

from the Defendant, but he is ignorant as to when and from what numbers they were placed.

Plaintiff alleges that he will uncover such illegal contacts through discovery.

       35.     Finally, on June 30, 2022, Plaintiff received a call from Defendant. This time, the

call came from 949-359-2280 at 11:14 AM. Plaintiff spoke with a representative on the call who


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asked if he was interested in a mortgage from Defendant. Plaintiff responded to the agent that he

thought that he had told Defendant not to call, or something to that effect.

       36.     All of the telemarketing calls and text messages were made to promote MBANC’s

mortgage services.

       37.     Plaintiff was harmed by these calls. He was temporarily deprived of legitimate

use of his phone because the phone line was tied up during the telemarketing calls and his

privacy was improperly invaded. Plaintiff was charged for the calls. The text messages wasted

network bandwidth and storage space. Moreover, these calls injured Plaintiff because they were

frustrating, obnoxious, annoying, were a nuisance and disturbed the solitude of Plaintiff.

                                  FIRST CAUSE OF ACTION

                              Telephone Consumer Protection Act
                                 (Violations of 47 U.S.C. § 227)

       38.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       39.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

purposes, to the Plaintiff despite having revoked consent to be contacted.

       40.     The Defendant’s violations were negligent, willful, or knowing.

       41.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf violations of the TCPA, 47 U.S.C. § 227, Plaintiff is

entitled to an award of between $500 and $1,500 in damages for each and every call made.

       42.     Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendant

and/or its affiliates, agents, and/or other persons or entities acting on Defendant’s behalf from

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making telemarketing calls to the Plaintiff when he has revoked consent, except for emergency

purposes, in the future.



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

       A.      A declaration that Defendant and/or its affiliates, agents, and/or other related

entities’ actions complained of herein violate the TCPA.

       B.      An order enjoining Defendant and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf from making calls, except for emergency purposes, to the

Plaintiff when he has revoked consent.

       C.      Because of Defendant’s violations of the TCPA, Plaintiff seeks for himself $500

in damages for each violation or—where such regulations were willfully or knowingly

violated—up to $1,500 per violation, pursuant to 47 U.S.C. § 227(c)(5).

       D.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.


       Plaintiff requests a jury trial as to all claims of the complaint so triable.

Dated: August 3, 2022



                                                 _______________________/s/_______________
                                                                          Andrew R. Perrong
                                                                              Plaintiff Pro-Se
                                                                      1657 The Fairway #131
                                                                       Jenkintown, PA 19046
                                                                        Phone: 215-791-6957
                                                                     Facsimile: 888-329-0305
                                                                    andyperrong@gmail.com



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JS 44 (Rev. 04/21)               Case 2:22-cv-03075-MMB
                                                   CIVILDocument 1 Filed 08/03/22 Page 9 of 11
                                                        COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
       ANDREW R. PERRONG                                                                                   MORTGAGE BANK OF CALIFORNIA D/B/A MBANC
       1657 THE FAIRWAY #131, JENKINTOWN, PA 19046                                                         1141 HIGHLAND AVE. C MANHATTAN BEACH, CA 90266
   (b) County of Residence of First Listed Plaintiff MONTGOMERY                                            County of Residence of First Listed Defendant LOS ANGELES
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

         ANDREW R. PERRONG (PRO SE); 1657 THE FAIRWAY                                                      ALLISON B. SUROWITZ, SUROWITZ LAW GROUP
         #131, JENKINTOWN, PA 19046; 215-791-6957                                                          44 MONTGOMERY ST. # 300 SAN FRANCISCO, CA 94104
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                               or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       TELEPHONE CONSUMER PROTECTION ACT, 47 USC 227; 47 CFR 64.1200
VI. CAUSE OF ACTION Brief description of cause:
                                       DEFENDANTS CALLED PLAINTIFF IN VIOLATION OF THE TCPA
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               4,500                                       JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
08/03/2022
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 2:22-cv-03075-MMB Document 1 Filed 08/03/22 Page 10 of 11
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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                                              UNITEDDocument  1 Filed
                                                    STATES DISTRICT    08/03/22 Page 11 of 11
                                                                    COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: ______________________________________________________________________________________________

Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                   Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                       Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                      Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                         Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                      Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: __________________________________                     __________________________________________                      ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                      B.   Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
       2.     FELA                                                                              2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
       4.     Antitrust                                                                         4.    Marine Personal Injury
       5.     Patent                                                                            5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                      7.    Products Liability
       8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
       10.    Social Security Review Cases                                                            (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                          ARBITRATION CERTIFICATION
                                                  (

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                             Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
